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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESEE
                                 WESTERN DIVISION

CINDY (DEXTER) WOOTEN,                             )
                                                   )
       Plaintiff,                                  )
                                                   )
vs.                                                )   Case No.: 2:10-cv-02672 CGC
                                                   )
STATE FARM FIRE & CASUALTY                         )
COMPANY,                                           )
                                                   )
       Defendant.                                  )

                               NOTICE OF SERVICE OF
                    PLAINTIFF’S RULE 26(a)(1) INITIAL DISCLOSURES


       COMES NOW Plaintiff, CINDY (DEXTER) WOOTEN, and pursuant to Federal Rule

of Civil Procedure 26(a)(1) and gives notice of the service of her Rule 26(a)(1) Initial

Disclosures, copy of which is attached hereto.



                                             Respectfully submitted,

                                             THE HUNT LAW FIRM



                                             /s/ Sean Antone Hunt __________
                                             SEAN ANTONE HUNT, BPR #16159
                                             P.O. Box 171119
                                             Memphis, TN 38187-1119
                                             901-730-0937
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                                                           CERTIFICATE OF SERVICE

             I hereby certify that a true and correct copy of the foregoing has been sent via U.S. mail,

properly addressed, and postage prepaid, or by electronic means via the Court's electronic filing

system to:

      Christopher Vescovo
      Jonathon L. May
      One Commerce Sq., 29th Floor
      40 South Main St.
      Memphis, TN 38103
      Attorneys for Defendant

             this 22nd day of February, 2011



                                                                                                              /s/ Sean Antone Hunt
                                                                                                             SEAN ANTONE HUNT, ESQ.
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